Case 2:17-cv-01941-GW-E Document 18-9 Filed 04/05/17 Page 1 of 2 Page ID #:144




                    EXHIBIT 8




                                                                     Exhibit 8 Page 42
3128/2017                                      Amazon.can
             Case 2:17-cv-01941-GW-E Document 18-9  FiledCheckout
                                                           04/05/17 Page 2 of 2 Page ID #:145

                                                                                  Checkout                   (1 item)                                                                i
   1        Shipping address                                                                                                    Change
                                                                                                                                                             Place your order

                                                                                                                                              By placing your order, you agree to Amazon's
                                                                                                                                                   privacy notice and conditions of use.
   2        Payment method                     VISA                                                                             Change

                                           Billing address: Same as shipping address.                                                         Order Summary
                                                Add a gift card or promotion code
                                                                                                                                              Items:                                     $12.65
                                               I   Enter code                          Apply                                                  Shipping & handling:                        $0.00

                                                                                                                                              Total before tax:                          $12.65
                                                                                                                                              Es6mated tax to be collected:               $1.08
   3        Review items and shipping
                                                                                                                                              Order total:                            $13.73
                        Want to save time on your next order and go directly to this step when
                        checking out?
                                                                                                                                              How are shipping costs calculated?
                        i.J Check this box to save yol.!' delivery and billing preferences .
                                                                                                                                              Prime shipping benefits have been appled to your
                                                                                                                                              order. (Why didn't I q uaify for Primo, FREE
                                                                                                                                              Same/One Day?)


                                     Savo $5 on your next Primo Pantry ordor by solocting "FREE No-Rush
                                     Shipping" below


              Guaranteed delivery date: Mar. 30, 2017                              If you order in the next 9 hours and 8
              minutes (Details)
              Items shipped from Amazon.com

                                  Alexander Hamilton                         Choose your Prime delivery option:
                                  by Ron Chernow                             0

                    ~
                                                                                 Wednesday, Mar. 2 9
                                  $12.65                                         $5.99 - One-Day Shipping
                   IIA NU TO)'.   I Qty:   ,                                 @ Thu rsday, Mar. 30
                                  Sold by: Amazon.com LLC                        FREE Two-Day Shipping
                                                                             0
                                        Add a gift receil)t   I                  Monday, April 3
                                                                                 FREE Standard Shipping
                                  and see other gift optons
                                                                             0   Tuesday, April 4
                                                                                 FREE No-Rush Shipping
                                                                                 Get a $5 reward for Prime Pantry. Details




                 Place your order
                                           Order total: $13.73
                                           By placing your order, you agree to Amazon.corn's privacy nouce and condlions of use.




   Need help? Check our Help pages or contact us

   For an lorn sold by .Amazon.com: 'Mien you ctick the "Place your order'" ~tton, wo11 sond you an omaa m;)SStigo acknowledging
   receipt of your order. Your contract to purchase an ftem will not be complete until we send you an email nolifying you that the ttem has
   been shipped.

   Important information about sales tax you may we in your state

   You may return new. unopened merchandise in original condition wfthin 30 days of delivery. Exceptions and restrictions apply. See
   Amazon.corn's Retums Policy.

   Need to add more ~ems to your order? Continue shopping on uie Ama,.on.com homepage.




                                                                                                                                                                      Exhibit 8 Page 43
https://www.anazon.com/gpfoo,;/spc/handers/display.html?hasWorkingJavascript=1                                                                                                                    1/1
